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                            UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA

ALEXIS WARREN &                                      *       CIVIL ACTION NO.: 18-7599
JAMES KELLY                                          *       c/w 18-7616
                                                     *
                                                     *
VERSUS                                               *       JUDGE: VITTER
                                                     *
ROSSTRANS AND SERVICES, d/b/a ILC                    *
LOGISTICS, GARY BRAIN AND                            *
BERKSHIRE HATHAWAY HOMESTATE                         *       MAGISTRATE: DOUGLAS
INSURANCE COMPANY                                    *

************************************************************************

                OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS

       NOW INTO COURT through undersigned counsel come plaintiffs Paula Washington,

Byron Charles, and Kevisha Washington who submit this Opposition to the Motion to Dismiss

Pursuant to Rule 41(B) filed by defendants Brian Gary (“Gary”), RossTrans and Services, LLC

d/b/a ILC Logistics (“ILC Logistics”), and Berkshire Hathaway Homestate Insurance Company

(“Berkshire”). Defendants seek a dismissal of plaintiffs’ Complaint on the grounds that they

allegedly failed to comply with the Court’s May 6, 2019 Order requiring them to service

defendants and file a proof of service within thirty (30) days of the Order. In sum, plaintiffs’

properly effected service in January, 2019, and have filed an Affidavit of Service reflecting

same on this the 8th day of July, 2019. See Rec. Doc. No. 52. Accordingly, defendants’ motion

should be denied.

                                             FACTS

       On December 27, 2018, plaintiffs’ served their Complaints upon defendants while

represented by prior counsel, who then withdrew on January 15, 2019. Specifically, plaintiffs

served their Complaint upon defendant Berkshire, a foreign insurer licensed to do and doing
                                                 1
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business in the State of Louisiana, upon the Secretary of State as required by La. Rev. Stat.

13:3472. Plaintiffs served their Complaint upon defendants Gary and ILC Logistics, both out of

state defendants, by registered mail pursuant to the Louisiana long-arm statute. Record

Document No. 52 is the Affidavit of Service of plaintiffs’ prior counsel, Kurt Offner, evidencing

that service was properly effected, including all relevant documents including proof of mailing.

         On February 11, 2019, while plaintiffs were unrepresented by counsel, defendants filed

respective motions to dismiss, representing to the Court that they had not been properly served.1

Defendant Berkshire misrepresented to the Court that service must be made upon the Louisiana

Secretary of State “personally”, and that certified mail therefore constituted insufficient service.2

Defendants Gary and ILC Logistics argued that because plaintiffs had not filed an Affidavit of

Service” as proof of service, and containing the tracking numbers of the certified mail, “as

required by La. Rev. Stat. 13:3204”, they likewise had not been properly served and dismissal of

the Complaint was required.3          Because plaintiffs were not represented by counsel during this

time, no such opposition was filed and plaintiffs were unable to point out the inaccuracies of the

defendants’ representations.4

         On May 6, 2019, the Court issued an Order requiring that “Plaintiffs must serve process

on defendants and file a proof of service into the record within 30 days of this Order.”5 However

as will be fully demonstrated below, plaintiffs had effected service upon defendants and filed

proof of service prior to the May 6, 2019 Order. Indeed, defendants Gary and ILC Logistics did

not even argue that they had not been properly served but, rather, merely complained that



1
  See Rec. Docs. 22, 23, 22-1 and 23-1.
2
  See Rec. Docs. 22-1 at pp. 1-2; 23-1 at pp. 1-2.
3
  See Rec. Doc. 23-1 at p. 2. Plaintiffs urge this Court to read La. Rev. Stat. 13:3204, which requires neither.
4
  See 5/6/19 Order, Rec. Doc. 46 at p. 8.
5
  Id. at 9.
                                                          2
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plaintiffs’ “proof of service” was deficient because it wasn’t titled an “Affidavit of Service”

and/or because the record doesn’t contain the “tracking numbers.”

                                               LAW

   I.       Service Upon Berkshire through Registered Mail to the Louisiana Secretary of
            State is Proper.

         As admitted by Berkshire, service of plaintiffs’ Complaint may be perfected by

“following state law for serving a summons”. Fed. R. Civ. Proc. 4(e)(1). Pursuant to Louisiana

law, service upon a foreign insurer is proper upon the Louisiana Secretary of State. La. Rev.

Stat. 13:3472. Service of such suit “may be made in person on the secretary of state anywhere in

the state” (i.e., physically handing a copy of the Complaint to Secretary of State Kyle Adroin) or

“on the assistant secretary of state, or on some other individual in the office of the secretary

of state designated by the latter to receive service of process in his absence”. La. Rev. Stat.

13:3472. Defendants conveniently omitted the second clause of the statute, absurdly suggesting

that all federal Complaints must be hand-delivered personally to Louisiana Secretary of State

Kyle Ardoin.

         There is no requirement that service must be made “in person” upon an individual in the

Secretary of State’s office. Rather, the Louisiana Secretary of State expressly instructs that

service of state court petitions cannot be mailed but that service of federal court

Complaints may be mailed:


         HOW DO I SERVE A SUIT?

         In Louisiana State Court

         The citation must state "(Defendant's Name) through the Louisiana Secretary of
         State." Service of process filed in any Louisiana state court cannot be mailed
         directly to the Secretary of State. To effect proper service, service must be
         sent to the Sheriff of East Baton Rouge Parish.

                                                 3
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          ****




          In United States District Court


          Service of process filed in any United States District Court can be either personal
          service or mailed directly to the Secretary of State, P.O. Box 94125, Baton
          Rouge, LA 70804-9125.

See https://www.sos.la.gov/BusinessServices/ServiceOfProcess/HowDoIServeASuit/Pages/default.aspx

(emphasis added). Thus, service of a federal suit upon someone in the Secretary of State’s office

may be made by mail, and plaintiff’s service via registered mail on December 27, 2018 was

proper. Defendant Berkshire, being a foreign insurance company licensed to do and doing

business in the State of Louisiana, certainly knew this when it represented to the Court otherwise

while plaintiffs were unrepresented by counsel.

    II.      Alternatively, should this Court deem Service Upon Berkshire Improper, it Should
             Grant Plaintiff Additional Time to Effect Proper Service.

          Alternatively, if service upon Berkshire is deemed improper, which plaintiffs’

vehemently dispute, “[t]he ‘general rule’ is that ‘when a court finds that service is insufficient

but curable, it generally should quash the service and give the plaintiff an opportunity to re-serve

the defendant’.” Collins v. WAFB, LLC, 16-15648 (E.D. LA 2017). In Collins, the court

rejected defendant’s second motion to dismiss, again filed on the grounds that plaintiff failed to

properly effect service under Rule 4 for a second time. Id. In denying the defendant’s second

motion, the court observed that while technically deficient, the plaintiff had “clearly evidenced

an intent to actively pursue her claims.” Id. Indeed, “[d]ismissal is usually disfavored if there

is a reasonable prospect that service may yet be obtained”. Myers v. Dillhon, 17-CV-0621

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(W.D. 2018) (emphasis added). See also Rhodes v. JP Sauer & Sohn, 98 F. Supp. 2d 746, 750

(W.D. LA 2000) (citing 5A Wright & Miller, § 1354, at 289-90 (“where the propriety of service

is unclear, ‘the simplest solution ... is to quash process and allow plaintiff another opportunity to

serve defendant’)). Indeed, this Honorable Court has great discretion in granting additional time

to perfect service outside of the 120 days “even if good cause is not shown… when, for

example, the statute of limitations would bar a refiled action”. Evans v. Johnson, CA 16-81

(W.D. LA 2017).

       Accordingly, should this Honorable Court find that service upon Berkshire via certified

mail to the Louisiana Secretary of State is improper and that plaintiffs instead are required to

hand deliver their Complaint to Louisiana Secretary of State Kyle Ardoin “personally” as

suggested by defendants, then it should grant plaintiffs additional time to do so. Defendants’

prior motion resulting in the Court’s May 6, 2019 Order occurred when plaintiffs were

unrepresented by counsel, and undersigned counsel did not have an opportunity to respond.

Plaintiffs in good faith believed that service upon Berkshire was proper and that there was

nothing further that needed to be done pursuant to the court’s May 6, 2019 Order. Further,

while plaintiffs do not concede that their suit would be barred by prescription if this Court were

to dismiss the above-captioned action and they had to re-file it, the Court’s May 6, 2019 Order

indicating that it believed plaintiffs would be time-barred if this action were dismissed gives

plaintiffs’ great concern. Accordingly, plaintiffs urge this Honorable Court, should it find prior

service upon Berkshire insufficient, additional time to effect proper service.




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    III.      Failure to Contemporaneously File the Affidavit of Service Does Not Support a
              Dismissal of the Complaint.

           “Proof of service must be made by the server’s affidavit.” Fed. R. Civ. Proc. 4(l)(1).6

Plaintiff’s prior counsel which served the Complaint upon defendants through the Louisiana

Secretary of State filed a “Response to Order to Show Cause”, certifying to the Court, under

penalty of sanctions, that he had made service upon defendants, and attaching the evidence

thereof. See Fed. R. Civ. Proc. 11.          The Court’s May 6, 2019 Order deemed this certification

under penalty of sanctions insufficient to comply with Fed. R. Civ. Proc. 4(l), because it was not

submitted “under penalty of perjury”.7 However, the federal rules, which do not set forth any

deadline by which said proof of service must be filed, expressly provides that “[f]ailure to prove

service does not affect the validity of service. The court may permit proof of service to be

amended.” Fed. R. Civ. Proc. 4(l)(3) (emphasis added). Accordingly, any deficiencies with

prior counsel’s “proof of service” does not affect the validity of service, and may be cured by

an amendment.

           Thus, federal courts uniformly recognize that a plaintiff’s Complaint may not be

dismissed for deficiencies in the proof of service. See e.g. Colony Ins. Co. v. Ropers of

Hattiesburg, 2:11cv3KS-MTP (S.D. MS Hattiesburg Div., 2011). In Colony, the defendant

moved to dismiss the plaintiff’s Complaint because of mistakes in the proof of service. In

denying the defendant’s motion, the court explained:

           First, Rule 4 provides that ‘Failure to prove service does not affect the
           validity of service.’ Fed. R. Civ. P. 4(l)(3). Two leading treatises have
           recognized that the Rule means what it says. See 4B Charles Alan Wright &
           Arthur R. Miller, Federal Practice & Procedure § 1130 (3d ed. 2010) ("This
           provision prevents a defendant who has been properly served from attacking the


6
  For clarification, the foregoing citation is to Fed. Rule 4 “L” (1). Undersigned counsel’s keyboard produces the
same character for a small letter “L” as for the numeral “1” which appears confusing.
7
  See Order, Rec. Doc. 46 at p. 6.
                                                          6
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       validity of service on the technical ground of the process server's failure to make
       return in timely fashion or because the return is deficient in some way."); Mary P.
       Squiers, Moore's Federal Practice § 4.104 (3d ed. 2010) (‘Service of process, if
       otherwise properly executed, will not be rendered defective if plaintiff fails to file
       proof of service with the court.’). Courts have also taken notice of Rule 4(l)(3)'s
       clear meaning. See, e.g., Leal v. Computershare, 2010 WL 4038609, at *3 (D.
       Nev. Sept. 28, 2010) (failure to file affidavit of service irrelevant in light of Rule
       4(l)(3); Stephens v. Ga. Dep't of Transp., 2009 WL 3747167, at *3 (M.D. Ga.
       Nov. 4, 2009) ("filing of the proof of service is merely a ministerial act and . . .
       the failure to timely file . . . proof does not operate to extinguish a cause of
       action"); Worrell v. Houston Can! Academy, 2008 WL 818333, at *2 (S.D. Tex.
       Mar. 25, 2008) (dismissing argument that "Plaintiff's proof of service was not
       made by affidavit" pursuant to Rule 4(l)(3)).

Id. (emphasis added). Finding that the defendant was “in no way prejudiced” by the deficiency

in the proof of service, the court admonished that “Defendants ‘should not be permitted to

take advantage of a mere misnomer that injured no one’.” Id. (emphasis added) (citing

Estate of White v. Hartford Life & Accid. Ins. Co., 2007 WL 7217079, at *2 (S.D. Tex. Oct. 11,

2007) (quoting Grandey v. Pacific Indem. Co.,217 F.2d 27, 29 (5th Cir. 1954).

       Indeed, “[t]he general attitude of the federal courts is that the provisions of Federal

Rule 4 should be liberally construed in the interest of doing substantial justice”. Fianola v.

Proteous Services, LLC, A-14-CV-489-LY, (W.D. Tx. 2014) (emphasis added) (citing 3

CHARLES ALAN WRIGHT & ARTHUR R. MILLER, FEDERAL PRACTICE AND

PROCEDURE § 1083 (3d. ed. Supp. 2014)). In Fianola, the defendants similarly sought

dismissal of the plaintiff’s suit on the grounds that plaintiffs failed to comply with the technical

requirements for the proof of service. Id. While the court acknowledged that the plaintiffs’

proof of service was deficient, the court denied the defendants’ motion, advising:


       The purpose of citation is to give the court proper jurisdiction over the
       parties and to provide notice to the defendant that he has been sued, and by
       whom and for what, so that due process will be served and he will have an
       opportunity to appear and defend the action. *** As long as the record as a
       whole, including the petition, citation, and return, shows that the citation was
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       served on the defendant in the suit, service of process will not be
       invalidated. Federal courts take a similar view of service requirements [and t]he
       general attitude of the federal courts is that the provisions of Federal Rule 4
       should be liberally construed in the interest of doing substantial justice. . . .
       [This is consistent] with the modern conception of service of process as primarily
       a notice-giving device….

Id. See also ATN Industries, Inc. v. Gross, 4:14-CV-02743 (S.D. TX 2016) (denying

defendants’ motion to dismiss for improper service under Rule 4, because “[t]he Fifth Circuit has

rejected dismissals expressly adopting a relaxed standard with regard to serving a defendant

abroad”).

       Likewise, in the above-captioned action, defendants all received notice of the Complaint;

they have not been prejudiced by prior counsel’s failure to certify “under penalty of perjury” in

his proof of service. Defendants should “not be permitted to take advantage” of a mistake that

“injured no one” - particularly during a period when plaintiffs were unrepresented by counsel.

Undersigned counsel has already filed a proper Affidavit of service to correct this deficiency,

which was merely technical in nature. Nevertheless, in the event this Honorable Court still

believes that deficiencies exist, which plaintiffs believe they have cured, this Court should allow

plaintiffs’ time to amend their proof of service to cure any further technical deficiencies.

                                         CONCLUSION

       At thus juncture, service was performed properly and plaintiffs have cured any technical

difficulties. As such, and pursuant to the well-settled authority set forth herein, Defendants’

Motion should be denied and Defendants’ should be ordered to answer plaintiffs’ Complaint

forthwith such that this matter can proceed forward with expediency.




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                                                      Respectfully submitted:

                                                      QUINN ALSTERBERG, LLC

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                                 CERTIFICATE OF SERVICE

       I hereby certify that I have on this 8th day of July, 2019, I filed a copy of the instant
pleading with the Court’s CMECF system, which will serve a copy on all counsel of record.



                                                              s:// Justin E. Alsterberg




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